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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

ANDRE JENNINGS,                                           )
                                                          )
                Plaintiff,                                )        Case No.: 1:23-CV-14099
                                                          )
        v.                                                )        Judge: John J. Tharp, Jr.
                                                          )
ED NAPLETON ELMHURST IMPORTS                              )
INC.,                                                     )
                                                          )
                Defendant.                                )

                         DEFENDANT’S MOTION
        TO COMPEL ARBITRATION AND DISMISS PLAINTIFF’S COMPLAINT

        Defendant, Ed Napleton Elmhurst Imports, Inc. (“Napleton”), by and through its attorneys,

Fisher & Phillips, LLP, and pursuant to 9 U.S.C. §§ 3 and 4, hereby moves this Court for an Order

compelling arbitration of all claims in Plaintiff Andre Jennings’ (“Plaintiff”) Complaint and

dismissing Plaintiff’s Complaint, with prejudice, pursuant to Fed. R. Civ. P. 12(b)(1). 1 In support

of this Motion, Defendant states as follows:

        1.      Plaintiff, who is a former Napleton employee, alleges that Defendant violated 42

U.S.C. § 1981, Title VII of the Civil Rights Act of 1964, 42 U.S.C. 2000c, et seq., and the Illinois

Human Rights Act, 775 ILCS 5/1 et seq. by subjecting him to hostile work environment racial

harassment, disparate treatment based upon race, and retaliation. [ECF No. 1]. As set forth below

and established more fully in the accompanying Memorandum of Law, Plaintiff’s claims fall within

the scope of a binding arbitration agreement and should be heard exclusively in an arbitral forum.

        2.      In September 2020, Plaintiff and Napleton entered into a Non-Solicitation

Agreement and Agreement to Arbitrate Employment Claims broadly pertaining to any putative


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  Alternatively, Napleton requests that the Court stay the current proceedings pending the outcome of binding
arbitration of Plaintiff’s claims.


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claim either party may have arising from their employment relationship. Plaintiff affixed his

signature to the Arbitration Agreement and continued to work for Napleton as a sales employee

where he remained until his separation on November 14, 2022.

        3.      As established in Defendant’s Memorandum of Law filed contemporaneously

herewith, the Arbitration Agreement is valid and enforceable, and covers all of the disputes

asserted by Plaintiff against Defendant in this lawsuit. Despite the fact that Plaintiff is aware of

the Arbitration Agreement and his contractual obligation to arbitrate his claims (after all, he signed

and agreed to it), Plaintiff has nonetheless filed in this forum.

        4.      Thus, in light of the mandates of the Federal Arbitration Act and Plaintiff’s

contractual agreement, which are set forth in more detail in the accompanying Memorandum of

Law, this Court should compel arbitration of this matter and order Plaintiff’s claim to be heard

exclusively in an arbitral forum. In doing so, this Court should dismiss Plaintiff’s Complaint, with

prejudice, for a lack of jurisdiction pursuant to Fed. R. Civ. P. 12(b)(1).

        5.      This Motion is supported by the accompanying Memorandum of Law.

        6.      Per Judge John J. Tharp Jr.’s Motion Procedures, counsel have conferred and

agreed upon the following briefing schedule for this Motion: (1) Plaintiff shall file his Response

in Opposition to Defendant’s Motion by January 12, 2024; (2) Defendant shall file its Reply in

Support of Defendant’s Motion by February 2, 2024.

        WHEREFORE, for the foregoing reasons, as well as those set forth in Defendant’s

accompanying Memorandum of Law, the Court should enter an Order compelling arbitration for

the claim(s) contained in Plaintiff’s Complaint and either (1) dismiss this matter, with prejudice;

or, alternatively, (2) stay the underlying proceedings pending the outcome of arbitration.

Dated: December 15, 2023                               Respectfully submitted,



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                                              ED NAPLETON ELMHURST
                                              IMPORTS, INC.

                                              /s/ Craig R. Annunziata_________
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                                CERTIFICATE OF SERVICE

        I, Craig R. Annunziata, of the law firm of Fisher & Phillips, LLP, certify that I have filed
the foregoing DEFENDANT’S MOTION TO COMPEL ARBITRATION AND DISMISS
PLAINTIFF’S COMPLAINT with the Northern District of Illinois Court via the Court’s
CM/ECF notification system, which will send notification of such filing by electronic service to
counsel of record as follows:

                                      Chiquita Hall-Jackson
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                                       Attorney for Plaintiff

Dated: December 15, 2023


                                                     /s/ Craig R. Annunziata




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